                                                                           Motion GRANTED.
                                                                           Status Conference
                       UNITED STATES DISTRICT COURT                        set for 9/27/13 at
                   FOR THE MIDDLE DISTRICT OF TENNESSEE                    2:00 p.m.
                            NASHVILLE DIVISION


UNITED STATES OF AMERICA                    )
                                            )
vs.                                         )          No. 3:12-00170
                                            )          Judge Aleta Trauger
ABRAN ARELLANO-GARCIA                       )


                     MOTION TO SET STATUS CONFERENCE

       COMES NOW the defendant, Abran Arellano-Garcia, by and through his attorney

John P. Cauley, and respectfully requests that the Court set a status conference in the

above referenced case. In support of this request the defendant asserts that eleven

months have passed since his arrest and detention. (DE 170) This is far too long a period

of time for this matter to be without a trial date and accompanying deadlines. The

defendant therefore asks that this Court set this matter for a status conference in order

ascertain the status of the Government’s case with the intent of establishing a trial date

with related filing deadlines.

                                  Respectfully submitted,

                                   /s/ John P. Cauley
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